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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 BNSF RAILWAY COMPANY,                             §
                                                   §
           Plaintiff,                              §
                                                   §
 v.                                                §    Civil Action No. 4:22-cv-0052-P
                                                   §
 INTERNATIONAL ASSOCIATION OF                      §
 SHEET METAL, AIR, RAIL AND                        §
 TRANSPORTATION WORKERS –                          §
 TRANSPORTATION DIVISION,                          §
                                                   §
           Defendant.                              §


                           DECLARATION OF JEREMY FERGUSON


       I, Jeremy Ferguson pursuant to 28 U.S.C. § 1746 declare the following facts are true and

correct:

       1.         I am currently President of the Transportation Division of the International

Association of Sheet Metal, Air, Rail and Transportation Workers (“SMART-TD”), formerly the

United Transportation Union (“UTU”), and have served in various officer positions since 1995. I

was elected as Local Legislative Representative in 1995, Local Chairperson in 1996, and

Secretary to the General Committee of Adjustment (“GCA”), which I served from January 2008

through September 30, 2008. I was then elected to GCA Vice Chairperson and served in that

capacity from January 1, 2012 through February 28, 2014. I was elevated to International Vice

President (“VP”) effective March 1, 2014, and was elected to that position where I served as VP

until September 30, 2019. I was elected as President of SMART-TD, and took office effective

October 1, 2019.
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       2.      SMART-TD is the duly authorized representative for the purposes of the Railway

Labor Act (“RLA” or “the Act”) of the crafts or classes of Yardmasters and train service

employees, including Conductors, employed by BNSF, and is a “representative” as defined by

the RLA, 45 U.S.C. § 151 Sixth. SMART-TD is governed by a Constitution, and has a tripartite

structure: the International as the administrative head; semi-autonomous, mid-level bodies

known as GCAs, which are responsible for negotiating and enforcing the collective-bargaining

agreement (“CBA”) with their respective carrier on their respective territories; and locals, where

membership is held.

       3.      SMART-TD GCA GO-001 is the subordinate body with jurisdiction over certain

predecessor railroads including the former Great Northern line. The General Chairperson (“GC”)

of GCA GO-001 is Joseph M. LaPresta. SMART-TD GCA GO-009 is the subordinate body with

jurisdiction over the former Atchison Topeka & Santa Fe (“AT&SF”). The GC of GCA GO-009

is Scott Swiatek. SMART-TD GCA GO-009 is the subordinate body with jurisdiction over the

former Santa Fe Coastlines. The Acting GC of GCA GO-017 is Johnny Martinez. SMART-TD

GCA GO-020 is the subordinate body with jurisdiction over the former ATSF Coast and Los

Angeles Junction. The GC of GCA GO-020 is Justin Schrock. SMART-TD GCA GO-341 is the

subordinate body with jurisdiction over the craft or class of Yardmasters employed by BNSF and

its predecessors. The GC of GCA GO-341 is Matthew Burkart. SMART-TD GCA GO-386 is the

subordinate body with jurisdiction over the former Great Northern. The GC of GCA GO-386 is

Larry Miller. SMART-TD GCA GO-393 is the subordinate body with jurisdiction over the

former AT&SF Western lines. The GC of GCA GO-393 is Kevin Kime.




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       4.      SMART-TD and BNSF are parties to CBAs on a national and local level that

control the terms and conditions of employment of the employees represented by SMART-TD.

Those CBAs do not contain a broad-based management rights clause.

       5.      On November 1, 2019, BNSF through the National Carriers Conference

Committee (“NCCC”) in national handling (i.e. bargaining on a multi-carrier and multi-union

basis), served a Section 6 notice on me as Transportation Division President proposing changes

to the parties’ CBAs. A true and correct copy of the NCCC’s Section 6 Notice is attached hereto

as Exhibit A. The parties have additionally been bargaining on a local level over various matters.

Critical issues in this round of bargaining include quality of life issues, including employee

availability for work and sick leave. Contained within NCCC’s Section 6 Notice was a proposal

wherein it has called for “better and more predictable work schedules” to “enhance employee

quality of life.” Contained within SMART-TD’s Section 6 Notice was a proposal to “establish

additional rest opportunities and the ability to mark off for family needs, visits to a primary care

physician, and emergencies related to quality of life, without penalty;” and “[e]stablish paid sick

leave for all train and engine service employees, without censure or discipline.” A true and

correct copy of SMART-TD’s Section 6 Notice is attached hereto as Exhibit B. Since the parties

served their Section 6 Notices, they have been discussing these matters at the bargaining table,

but no resolution has been reached.

       6.      Despite these matters being in active negotiation, it is my understanding that on

January 4, 2022, the GCs were notified via zoom invitation that BNSF intended to present its

new High Visibility (“Hi Viz”) attendance policy the following day, with BNSF refusing to

answer any questions posed by the GCs. While BNSF indicated that no information would be

distributed to the employees and local union officers until all the GCs questions and concerns




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were answered, on January 6, 2022, various BNSF General Managers began holding zoom

meetings directly with SMART-TD Local Chairpersons (“LCs”), wherein the General Managers

provided the LCs with more information that had been provided to the GCs. On January 10,

2022, BNSF officially announced its intentions to implement its “Hi Viz” Policy effective

February 1, 2022. A true and correct copy of BNSF’s High Viz policy is attached hereto as

Exhibit C. Under this new policy, employees begin with 30 points, which are then deducted

based on certain enumerated unavailability events, including fatigue, sickness, and family

emergency. The policy then provides for “good attendance credits,” where an employee is

awarded four points for any 14-day period in which they work without an “unavailable” event.

An “unavailable” event is an absence from work for any reason other than training, working light

duty, company business, or on military leave. If an employee is absent from work because of

federally protected leave under the Family Medical Leave Act (“FMLA”) or off on union

business, s/he is not eligible for any good attendance credit for that 14-day period. In

addition, union officers and those on FMLA leave are penalized an extra two or three points if

they are unavailable the day before or after such protected leave. This policy interferes with the

Union’s ability to carry out its representative function. Once a BNSF issues a Notice of

Investigation to an employee for an alleged rules violation, it will set an on-property hearing date

which is usually within 10 days. This requires the LC to mark off (i.e., take leave) to attend the

hearing and represent the member. In addition, the LC may have to mark off to attend to the

various appeal meetings as the grievance is progressed up.

       7.      On January 11, 2022, the SMART-TD General Chairpersons representing

employees on BNSF objected to the Carrier’s unilateral action, writing to me as the SMART

Transportation Division President for assistance. A true and correct copy of that letter is attached




                                                 4
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as Exhibit D. SMART-TD’s process for requesting SMART International assistance on disputes

is set forth in Article 21B, Section 91 of the SMART Constitution. That Section has several steps

and provides, in pertinent part, that where the GCs are unable to resolve a particular dispute with

a carrier, they may request the assistance of the President Transportation Division to progress the

matter to a conclusion. If the matter cannot be resolved, and the GCs wish to request self-help,

the Constitution provides that any strike action must be authorized by a two-thirds (2/3) vote of

the members of the GCAs. It further provides that: “[I]n the event that the President

Transportation Division or their representative and the General Committee are unable to reach a

satisfactory adjustment of the matter, the President Transportation Division may recommend to

the [SMART] General President who may order a strike on all or any portion of the company

involved.” A true and correct copy of Article 21B, Section 91 of the SMART Constitution is

attached hereto as Exhibit E. By letter dated January 12, 2022, I responded to the GCs, stating in

pertinent part that they were permitted to conduct a polling of their members. Said letter further

cautioned that “the approval of this proposition by a General Committee, as outlined above, does

not constitute imminent authority to engage in any strike action, as additional steps must be taken

under the governing provisions of the SMART Constitution, and must be handled in accordance

with the Railway Labor Act, as amended.” A true and correct copy of that letter is attached

hereto as Exhibit F.

       8.      It is my understanding that BNSF filed a Complaint for declaratory and injunctive

relief, and sought assurances from the GCs that they viewed the dispute as “minor” under the

RLA and would not strike. BNSF asserted that it was concerned that a strike would occur

imminently due to rumors they had heard. The various steps required under the Union’s

Constitution to authorize and to allow self-help have not been completed. The GCs and I




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declined to provide any assurances, but did make clear that no strike, if any, would occur prior to

February 1, the date of implementation.



       I declare under penalty of perjury that the following is true and correct to the best of my

knowledge.



Executed this 24th day of January, 2022.
                                                             ____________________________
                                                             Jeremy Ferguson




                                                 6
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         NATIONAL RAILWAY LABOR CONFERENCE
  251 – 18th STREET, SOUTH, SUITE 750, ARLINGTON, VA 22202 / TELEPHONE: 571-336-7600 FAX: 571-336-7605


                                        BRENDAN M. BRANON
                                             Chairman

 JEFFREY F. RODGERS                                                                     MATT HOLT
    Vice Chairman                                                                  Director of Labor Relations



                                            November 1, 2019

VIA FEDERAL EXPRESS AND ELECTRONIC MAIL

Mr. Jeremy Ferguson
President, Transportation Division
International Association of Sheet Metal, Air,
Rail and Transportation Workers (SMART-TD)
24950 Country Club Blvd, Suite 340
North Olmsted, Ohio 44070

Dear Mr. Ferguson:

         The rail freight carriers represented by the National Carriers’ Conference Committee (NCCC) for
the 2020 wage, rules and benefits round of collective bargaining intend to bargain on a concerted national
basis with respect to their employees represented by your organization, as has been the case generally in all
past bargaining rounds since the 1930's. Those carriers have authorized NCCC representation by duly
executed powers of attorney and are listed in Attachment A hereto. That list will be supplemented from
time to time as additional carriers authorize representation by the NCCC in national handling with respect
to your organization.

        Attachment B comprises a notice served nationally on your organization on behalf of these carriers
pursuant to Section 6 of the Railway Labor Act. It is served upon you as the national representative of your
organization and the carriers propose it be handled nationally and concurrently with any Section 6 proposals
that may be served by your organization.

         We believe that national handling represents the best opportunity for your organization and the
freight railroads to manage our way to and through the next round of collective bargaining in a manner that
serves the mutual interests of our respective constituents and their separate interests as well.

        Under Section 6, the parties are required to conduct an initial conference. Please contact me so that
we can schedule a date and time to meet.

                                                                   Yours very truly,



                                                                   Brendan M. Branon
Attachments

cc:     All NCCC-represented carriers



                                                                                                  Ex. A
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                                                                       ATTACHMENT A


    CARRIERS REPRESENTED BY THE NATIONAL CARRIERS’ CONFERENCE
                   COMMITTEE WITH RESPECT TO
      INTERNATIONAL ASSOCIATION OF SHEET METAL, AIR, RAIL AND
         TRANSPORTATION WORKERS, TRANSPORTATION DIVISION


Alameda Belt Line
Alton & Southern Railway Company
The Belt Railway Company of Chicago
Bessemer and Lake Erie Railroad Company d.b.a. C.N.
BNSF Railway Company
Central California Traction Company
Consolidated Rail Corporation
CSX Transportation, Inc. - 1
         Baltimore & Ohio Railroad Company (Former)
         Baltimore & Ohio Chicago Terminal Railroad Company (Former)
         Chesapeake & Ohio Railway Company (Former)
         Chicago & Eastern Illinois Railroad Company (Former)
         Clinchfield Railroad Company (Former)
         Consolidated Rail Corporation (Former)
         Toledo Terminal Railroad Company (Former)
         Monon Railroad Company (Former)
         Pere Marquette Railroad Company (Former)
         Seaboard Coast Line Railroad Company (Former)
         Western Maryland Railroad Company (Former)
         Richmond Fredericksburg & Potomac Railroad Company (Former)
         Gainesville Midland Railroad Company (Former)
Grand Trunk Western Railroad Company d.b.a. C.N.
Illinois Central Railroad Company and Chicago, Central & Pacific Railroad Company d.b.a.
C.N.
Indiana Harbor Belt Railroad Company
The Kansas City Southern Railway Company
         Kansas City Southern Railway
         Louisiana and Arkansas Railway
         MidSouth Rail Corporation
         Gateway Western Railway
         SouthRail Corporation
         Tenn. Rail Corporation
         Joint Agency
Longview Switching Company
Los Angeles Junction Railway Company
New Orleans Public Belt Railroad Corporation - 2
Norfolk & Portsmouth Belt Line Railroad Company
Norfolk Southern Railway Company
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ATTACHMENT A
SMART-TD
Page 2

       The Alabama Great Southern Railroad Company
       Central of Georgia Railroad Company
       The Cincinnati, New Orleans & Texas Pacific Railway Co.
       Georgia Southern and Florida Railway Company
       Tennessee, Alabama and Georgia Railway Company
       Tennessee Railway Company
Northeast Illinois Regional Commuter Railroad Corporation (METRA) - 1
Northern Indiana Commuter Transportation District – 1
Palmetto Railways
Port Terminal Railroad Association
Terminal Railroad Association of St. Louis - 1
Texas City Terminal Railway Company
Union Pacific Railroad Company
Wichita Terminal Association
Winston-Salem Southbound Railway Company
Wisconsin Central Ltd. d.b.a. C.N.


                                        ******
Notes:

         1   -      Health & Welfare only
         2   -      Wages and Health & Welfare only
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                                                                        ATTACHMENT A


     CARRIERS REPRESENTED BY NATIONAL CARRIERS’ CONFERENCE
                    COMMITTEE WITH RESPECT TO
  YARDMASTERS DEPARTMENT - INTERNATIONAL ASSOCIATION OF SHEET
  METAL, AIR, RAIL AND TRANSPORTATION WORKERS, TRANSPORTATION
                             DIVISION


Alton & Southern Railway Company - 3
BNSF Railway Company
Consolidated Rail Corporation
Consolidated Rail Corporation (Mechanical Foremen) - 1
CSX Transportation, Inc. – 2
         Seaboard Coast Line Railroad Company (Former)
         Baltimore & Ohio Railroad Company (Former)
         Chesapeake & Ohio, Louisville & Nashville, Clinchfield, Nashville, Chattanooga
         St. Louis, and Monon Railroad Companies
         Conrail Northern Lines
Grand Trunk Western Railroad Company d.b.a. C.N.
Illinois Central Railroad Company d.b.a. C.N.
Indiana Harbor Belt Railroad Company
The Kansas City Southern Railway Company
         Kansas City Southern Railway
         Joint Agency
Longview Switching Company - 3
New Orleans Public Belt Railroad Corporation - 3
Norfolk & Portsmouth Belt Line Railroad Company
Norfolk Southern Railway Company
         The Alabama Great Southern Railroad Company
         Central of Georgia Railroad Company
         The Cincinnati, New Orleans & Texas Pacific Railway Co.
         Georgia Southern and Florida Railway Company
         Tennessee, Alabama and Georgia Railway Company
         Tennessee Railway Company
Northeast Illinois Regional Commuter Railroad Corporation (METRA) – 2
Portland Terminal Railroad Company
Port Terminal Railroad Association
Terminal Railroad Association of St. Louis
Texas City Terminal Railway Company
Wisconsin Central Ltd. d.b.a. C.N.
Wisconsin Central Ltd. as successor to Elgin, Joliet and Eastern Railway d.b.a. C.N.
Wisconsin Central Ltd. as successor to Duluth, Missabe & Iron Range Railway d.b.a. C.N.

                                      * * * * * *
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ATTACHMENT A
SMART-TD (Y)
Page 2

Notes:

         1   -   Wages & Rules and Health & Welfare only

         2   -   Health & Welfare and Supplemental Sickness only

         3   -   Wages, Health & Welfare and Supplemental Sickness only
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Attachment B                                National Section 6 Notice – SMART-TD


           The American railroad industry has survived for more than a century because of its

ability to adapt and innovate in the face of unrelenting challenges. The industry has persisted

through economic downturns, wars, fierce competition, and periods of crushing regulation by

investing in and implementing new technologies, operating procedures, and business lines.

Workplace changes resulting from these advances have not always been embraced at the

bargaining table, but those changes have ultimately benefitted railroads, our people, and the

industries and communities we serve. We have been able to provide, even in the face of these

systemic changes, amongst the very best pay and benefits of any jobs in our economy. And the

industry has done this while building and operating a vibrant transportation system that is the

backbone of our economy and an extremely safe and environmentally-friendly means of shipping

freight.

           We move forward at the bargaining table today with previously unfathomable

technologies now proven and scalable in ways that can make our system better and safer.

Drones, ultrasound, smart sensors, software advancements, big data – these technologies and

others, led by the implementation of Positive Train Control (“PTC”), are the modern-day fuel of

America’s freight rail network. Together with our strong cultures, these technologies are

delivering the safest era ever for U.S. railroads. To secure a future that is even safer, the railroad

industry believes we must embrace these new technologies and work together to implement

them.

           Many current economic forecasts call for long-term increases in freight demand, and the

opportunity exists to win a greater share of the growing global marketplace for freight. Yet

railroads must overcome unrelenting pressure from customers and powerful economic forces to

price our services to the market – not to our costs – to retain our current traffic levels and capture

new business. Significant challenges to our success include the decline of coal, advancements in
                                                   1
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Attachment B                                National Section 6 Notice – SMART-TD


trucking, the increasing long-term exposure of our manufacturing and agriculture sectors to

global competition, the continued shift towards a services-oriented economy, changes in

customer supply chain strategies that require faster and more reliable scheduled service, and

renewed threats of increased regulation. Entrenching ourselves in outdated approaches and

failing to fully utilize new technologies will diminish our ability to resist these pressures and

forces.

          This industry has typically lagged behind the rest of the industrial world in adapting

workplace practices to new technologies. This approach has only delayed and limited the

available options to respond when changes must occur. To meet our challenges head on, we must

modernize all aspects of our business, including the terms and conditions of employment. In

particular, certain work rules – across all crafts – have not been updated at the national

bargaining table for decades. These anachronistic provisions fail to account for modern

technology and impede rather than support the timely delivery of freight. Some of these rules

also degrade rather than enhance employee quality of life. Reform can and should result in safer

workplaces, better and more predictable schedules, greater access to technology, and a wider

range of jobs with less travel. Securing a future with leading pay, benefits and healthcare can and

will remain part of this employment model if we succeed in meeting these challenges.

          Perhaps the most glaring example of our need for modernization concerns the size and

makeup of train crews. In order to take full advantage of new investments in modern technology,

reduce human error and better align operational costs with other industries, railroads propose to

redeploy conductors from the cab of the locomotive to ground-based positions on territories

where PTC or equivalent technologies are enabled. Redeploying employees to ground-based

positions in these territories will safely and more efficiently meet the industry’s operational and



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Attachment B                                National Section 6 Notice – SMART-TD


service requirements while providing those employees with higher quality-of-life jobs that allow

more employees to spend their nights at home after shifts rather than at hotels.1

         We also need to continue the process of modernizing the health and welfare benefit plans

that cover our people and retirees. The plans continue to have an outdated design, including the

lack of any tiered employee monthly contributions for spouses and dependents, as well as the

lack of a mechanism for annual adjustments to employee cost-sharing to keep pace with

increasing health care costs. As a consequence, the plans remain extraordinarily rich when

compared to employer-sponsored health benefits typically offered to the American workforce.

The richness of the plans fosters an environment within which covered employees and their

dependents are not sufficiently engaged in managing their healthcare choices. This lack of

engagement leads to poor health decisions and overutilization of health services. As a result, we

are not producing good health outcomes and behaviors while still facing health care expenditures

that are well outside the mainstream.

         Modernizing our agreements is critical to the railroad industry’s long-term ability to

compete and provide job security. We cannot ignore external competitive pressures and carry on

as if past financial performance is simply guaranteed in the future. The security and prosperity of

the entire railroad community depends on our continued ability to innovate, adapt, and manage

our labor costs in a responsible, measured manner. It is in our long-term interest – labor and

management alike – to continue to work together toward a future of stable employment, leading

pay and benefits, and safe, efficient service.




1
  The railroads maintain that this proposal is subject to bargaining on a multi-carrier basis. However, without
prejudice to that position, the railroads do not insist on multi-carrier handling of this proposal, and instead are, by
this Notice, inviting SMART-TD to voluntarily address crew consist on multi-carrier basis, without prejudice to any
position that the union may wish to take in the future regarding this issue. This proposal is also without prejudice to
any similar or identical proposal that any participating railroad may raise in individual or local bargaining.

                                                           3
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Attachment B                                National Section 6 Notice – SMART-TD


         The railroads’ bargaining proposals – which are based on the foregoing principles –

include the following:

1.       Wages and Compensation

         Adjust wages and/or other compensation to achieve a fair and competitive labor cost

structure that reflects the economic conditions of the railroads and (1) accounts for the history of

prior wage increases that have resulted in compensation that is significantly above average for

comparable positions, and (2) better corresponds to pay levels of positions of comparable skills

in other industries. Align compensation elements with work actually performed, and modify any

existing incentive compensation arrangements, where applicable, to better align pay with the

needs and goals of railroad operations. Any wage and compensation adjustments shall be

effective only upon the date of signing of a new agreement. In other words, such adjustments

will not be back-dated or be calculated retroactively from the amendable date of current

agreements.

         Moreover, in the event that SMART-TD declines to negotiate over crew consist on a

multi-carrier basis or the parties are unable to agree on changes in crew consist, the railroads

propose an adjustment to compensation, apart from and/or in lieu of the adjustments proposed

above, to reduce pay in any circumstance in which a train is required by any labor agreement to

operate with more personnel than would be assigned by the railroad based on operational needs

alone.

2.       Health and Welfare

         The railroads seek to modernize the health care plans’ design and administrative practices

and make available resources to enable covered employees and their dependents to better engage

in their own healthcare decisions. Specifically:

        Increase member cost-sharing to establish an actuarial value that reflects the mainstream
                                                   4
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Attachment B                                National Section 6 Notice – SMART-TD


         health plan design.

        Introduce a tiered employee monthly contribution structure and add surcharges for

         working spouse enrollment and tobacco use.

        Implement a mechanism to maintain the agreed-upon actuarial value and total cost-share

         split in the future (i.e., annual “indexing” or elimination of fixed co-pays).

        Adopt all pharmacy management rules and programs to ensure appropriate medications

         are being prescribed.

        Reconfigure the medical vendor network to utilize networks with favorable provider

         discounts and overall cost of care.

        Offer digital health programs to improve member engagement in health care decisions,

         increase use of value-add programs, and to help members manage chronic health

         conditions.

        Establish additional direct relationships with centers of excellence to ensure members

         have the best care available for serious and complex conditions.

        Amend ERMA to mirror the active plan design for pharmacy benefits and to require

         monthly retiree contributions.

        Require additional payments from employees to account for any delayed implementation

         of plan changes agreed to by other unions.

3.       Work Rules

         The prior two national bargaining rounds have concluded without any major changes to

work rules, and some work rules have not been updated at the national bargaining table for

decades. In this round, the railroads are seeking changes to rules that restrict flexibility, impede

efficiency, degrade the industry’s ability to compete, and no longer reflect mainstream standards.



                                                   5
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Attachment B                                National Section 6 Notice – SMART-TD


         While the railroads’ proposed work rule reforms cover all crafts, the impact of those

proposals may vary by craft and include the following:

        Updating provisions that restrict management discretion over the assignment of work or

         that continue to allow for antiquated methods of distribution of work assignments or that

         are inconsistent with the need to support 24/7 operations. Additional discretion in these

         areas would add flexibility over which crafts (as well as employees with certain

         qualifications within a craft) may perform work in various circumstances, when such

         work may be assigned and performed, the duration of time the work may be performed,

         and the circumstances under which work rules may be relaxed to meet customer

         demands. Likewise, modernizing assignment procedures – including through use of

         electronic bidding – will provide benefits for both carriers and employees.

        Simplifying carrier agreements, consolidating multiple legacy railroad contracts within

         the same workgroup, reducing methods of payment calculation, and accelerating when

         certain operational changes may be implemented. By simplifying these provisions,

         railroads will bring these aspects of existing agreements into greater alignment with

         mainstream business practices and eliminate or revise outdated, unnecessary, and/or

         overly complex agreement language, pay systems, and notice rules.

        Eliminating or revising other work rules that inhibit efficient operations and modernizing

         outdated agreement terms to correspond to current standards in American transportation

         industries, including relaxing arbitrary geographical limits on work performed by train

         crews, allowing for greater flexibility to timely deploy well-trained teams to critical

         projects, and sunsetting excessive forms and lengths of furlough protections not enjoyed

         elsewhere in U.S. industries.

4.       General Contract Reform
                                                   6
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Attachment B                                National Section 6 Notice – SMART-TD


       In addition to the foregoing proposals, make all necessary changes in contracts, rules and

practices to improve operational efficiency and productivity, simplify and streamline existing

contracts and contract language, facilitate the gradual elimination of redundant or unnecessary

positions, reduce time paid but not worked, enhance safety, enable expanded use of technology,

and otherwise reflect the competitive and financial needs of the industry as well as the mutual

interest of the carriers and their employees in responsible, stable, enduring, and fair rules, rates

of pay, and working conditions.

5.     Duration and Moratoriums

       Provide for agreement of sufficient duration to facilitate labor stability and predictability.

In addition, in the event that subsequent legislative or regulatory changes prevent the carriers

from obtaining – or deprive the carriers of the benefits of – any newly negotiated rights, the

parties shall, notwithstanding any existing moratoriums, reach agreement – through negotiation

or, if necessary, binding arbitration – on alternative contract terms providing the same relative

economic value to each party.

       Adopt moratorium similar to that contained in the last national settlement. Replace any

extant moratorium in local agreements with single, consolidated moratorium.

                                      *       *        *      *

       The carriers reserve the right to amend or modify these proposals and/or to make

additional proposals to the extent permitted by law.




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                       SMART TRANSPORTATION DIVISION ATTACHMENT “A”

                                                 November 20, 2019

Except as otherwise provided herein, effective January 1, 2020, the existing rules, agreements, interpretations or
practices, however established, shall be amended to provide as follows:

ITEM 1 – SERVICE SCALE

    (a) Completely and permanently eliminate service scale/entry rates where such service scale exists.

    (b) Permanently restore dual arbitrary payments which were eliminated by the October 31, 1985, National
        Agreement.


ITEM 2 – WAGES

    (a) Provide a series of General Wage Increases (GWIs) to become effective January 1, 2020, and every six (6)
        months thereafter, which shall be applied to all components, including but not limited to arbitraries,
        differentials, miscellaneous rates, special allowances, daily, weekly, and monthly guarantees based upon
        hourly or daily rates of pay, including those expressed in terms of miles, and overmiles.

    (b) Require carriers to pay retroactive pay, if necessary, to January 1, 2020. In addition, all retroactive wage
        adjustments will be made by separate check to the employee within thirty (30) days of ratification of the
        agreement.

    (c) An itemized statement detailing each employee’s retroactive wage adjustment calculations will be provided
        to affected employees at the time of payment.

    (d) Provide for Cost-of Living Adjustments, (COLAs) in addition to GWIs, every six (6) months.

    (e) Signing bonus of five thousand dollars ($5,000.00) to be paid within thirty (30) days of ratification of the
        agreement.

    (f) Annual year-end bonus/profit sharing/stock options, to be paid by December 1 of each calendar year.


ITEM 3 – EMPLOYEE CERTIFICATION AND MAKE-WHOLE PAYMENT

    (a) Increase the daily compensation for service requiring certification to twenty dollars, ($20.00) subject to all
        future GWIs and/or COLAs.

    (b) Provide payment for all time lost and expenses incurred in connection with any required periodic
        qualification or re-certification exams including, but not limited to, required regulatory documents
        (passports, enhanced drivers’ license, TWIC card, etc.), written examinations, re-qualification rides,
        physicals, sleep studies, hearing tests, vision acuity tests, and any other examinations required by the carrier
        or statute.

    (c) Certification pay to be paid to all employees holding such certification, regardless of the craft in which
        service is performed.

    (d) Hazard pay equal to 10% of total earnings per tour of duty for operating a Key Train or High Threat Urban
        Area train.

                                                                                                      Ex. B
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ITEM 4 – TECHNOLOGY

   (a) Technology compensation of twenty-five dollars ($25.00) per day for required utilization of all in-cab and
       handheld reporting devices, subject to all future GWIs and/or COLAs.


ITEM 5 – SHIFT AND WEEKEND DIFFERENTIAL

   (a) Provide additional compensation for employees performing service or deadheading in all classes of road,
       yard, and passenger service on nights, weekends, or holidays.

   (b) Such pay differentials shall be subject to all future GWIs and COLAs.


ITEM 6 – RSIA

   (a) Employees will be made-whole for pay purposes up to 276 hours and/or any limbo time when held in due
       to RSIA.

   (b) Employees observing federally mandated rest periods in accordance with monthly service or consecutive
       day limitations will not be considered unavailable for any reason.


ITEM 7 – FATIGUE ABATEMENT

   (a) Establish additional rest opportunities and the ability to mark off for family needs, visits to a primary care
       physician, and emergencies related to quality of life, without penalty.

   (b) Require the carriers to provide accurate train line-ups for more predictability of on-duty time.

   (c) Require the carriers to provide a ten (10) hour advance call time to all employees working in unassigned
       service.


ITEM 8 – TRAINING

   (a) Amend the pertinent provisions of the 1972 Manning Agreement to provide for the same basis of pay
       applicable to any craft represented by the SMART-TD on the assignment on which they are training, unless
       otherwise provided for at a higher rate of pay.

   (b) Any required qualification, re-qualification, and/or familiarization trips will be compensated as if the
       employee was performing service in any craft represented by the SMART-TD on the assignment, unless
       otherwise provided for at a higher rate of pay.

   (c) Each employee assigned to a crew utilized by the carrier to provide training, instruction, familiarization
       trips, or similar mentoring in connection with their regular or extra board assignment shall be provided
       payment in the amount of four (4) hours at the applicable rate, in addition to all earnings of the assignment.

   (d) Establish a rule to require all training to be performed by a conductor mentor or peer trainer designated by
       the Organization, where such rule does not exist.

   (e) Establish a voluntary bid system to allow employees to request selection for engineer training.
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   (f) Eliminate the pertinent provisions of Article 13, Section 3, Paragraph 1, of the 1985 National Agreement,
       which contemplate fitness and other qualifications being equal.


ITEM 9 – OVERTIME

   (a) Provide compensation at the overtime rate after eight (8) hours on-duty for assignments with a mileage
       component, regardless of miles run and without reduction in pay for all miles run.

   (b) Provide overtime to all employees after twelve (12) hours on-duty for freight service runs exceeding 195
       miles.

   (c) Provide overtime to all employees in regular assigned service exceeding five (5) days per week, where rules
       do not currently provide for such overtime payment.

   (d) Provide overtime to all employees for service performed on assigned rest days, where rules do not currently
       provide for such overtime payment.

   (e) Include all service in operating crafts for overtime qualifying purposes.


ITEM 10 – MEAL PERIODS, MEAL ALLOWANCES, AND HELD-AWAY PAY

   (a) Allow a rate equal to the IRS rate for all away from home meals per calendar day (currently $66.00).

   (b) Employees shall continue to be compensated until they receive a room at the away-from-home terminal
       lodging facility.

   (c) Held-away pay will begin at the expiration of required legal rest, and will be paid continuously until the
       return train departs the away-from-home terminal, or if deadheaded, until the conveyance by which
       deadheaded departs the away-from-home terminal.

   (d) Increase yard meal period from twenty (20) minutes to one (1) hour with no reduction in pay. Such meal
       period must begin after four-and-one-half (4 ½) hours on-duty, and be completed before six (6) hours on-
       duty. If such meal period is not granted as outlined herein, the employee will be allowed an additional day’s
       pay at the rate of the assignment.

   (e) Establish a standard for eating facilities for yard and other assigned crews.

   (f) Increase ID meal allowance on freight runs to twelve dollars and fifty cents, ($12.50) subject to all future
       GWIs and COLAs.


ITEM 11 – REMOTE CONTROL COMPENSATION

   (a) Increase RCO pay from forty-six (46) minutes to three (3) hours.

   (b) Provide eight (8) hours of pay for conversion of remote control to conventional operation.


ITEM 12 – 401K PLAN
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  (a) Establish an employer-contribution 401k Plan, with matching employee contributions. This 401k Plan shall
      be in addition to any other plan currently available.

  (b) The fees associated with this plan will be the responsibility of the carriers.


ITEM 13 – VACATIONS

  (a) Reduce the number of years necessary to qualify for a vacation and increase the total number of vacation
      weeks, as follows:

          •   One (1) year of service provides two (2) weeks.
          •   Five (5) years of service provides three (3) weeks.
          •   Ten (10) years of service provides four (4) weeks.
          •   Fifteen (15) years of service provides five (5) weeks.
          •   Twenty (20) years of service provides six (6) weeks.
          •   Twenty-five (25) years of service provides seven (7) weeks.

  (b) Allow up to three (3) weeks of floating vacation per year.

  (c) Allow all vacation weeks to be taken in single day increments.

  (d) Provide guaranteed availability of pre-arranged compensated time off.

  (e) Permit employees to split all week-long vacation periods to which he/she is entitled.

  (f) Increase the number of days credited towards vacation qualifications for days on an extra list and
      performing no service.

  (g) Increase the number of days absent or unable to perform service due to an on-duty injury.

  (h) Allow credit towards vacation qualifications for days absent from and unable to perform service due to
      an off-duty illness or injury.

  (i) Allow credit towards vacation qualifications for each day required to observe federally mandated rest
      periods in accordance with monthly service or consecutive day limitations.

  (j) Employees who do not accrue the required days for full vacation entitlement shall have vacation entitlement
      pro-rated, based on actual qualifying days accrued in the previous calendar year.

  (k) Recognize that compensated service days of employees transferring to train and engine service crafts from
      non-train and engine service crafts will be used in determining previous year qualifying days and
      accumulated qualifying days.

  (l) Employees absent during the vacation bid period due to an approved leave of absence, disciplinary
      reinstatement, or military leave, will be allowed to, upon return to service, bid any vacation earned in
      accordance with the National Vacation Agreement.


ITEM 14 – HOLIDAYS AND PERSONAL LEAVE DAYS

  (a) Increase the number of paid holidays to include Martin Luther King’s birthday, Mother’s Day, Father’s
      Day, Halloween, and Veteran’s Day.
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  (b) Pay time and one-half to employees who are not currently covered under the National Holiday Rule for
      working on a holiday.

  (c) Holiday pay for all assignments not currently covered under the National Agreement.

  (d) Change the allotment of personal leave days to match the number of paid holidays. The employee may
      choose to either receive paid compensation for the holiday or waive holiday pay in lieu of an accrued
      personal day.

  (e) Allow unused personal leave days to be carried over to the subsequent calendar year without reduction in
      rate.


ITEM 15 – SICK LEAVE

  (a) Establish paid sick leave for all train and engine service employees, without censure or discipline.


ITEM 16 – TRAUMA LEAVE AND MATERNITY LEAVE

  (a) Provide for compensated trauma leave equal to 60% of employee’s salary, and counseling, if requested.

  (b) Employees will have the option to take up to three (3) out of six (6) weeks of paid maternity leave. This
      would apply to both parents.


ITEM 17 – OFF-TRACK VEHCILE AGREEMENT

  (a) Amend the off-track vehicle agreement to provide for full reimbursement of lost wages.

  (b) Provide employees adequate uninsured and underinsured motorist/driver protection.


ITEM 18 – BEREAVEMENT LEAVE

  (a) Provide improvements in compensation and number of allowable days off for bereavement leave, to be
      taken within thirty (30) days from the date of death.

  (b) Expand the persons for whom such leave and compensation will be allowed to include domestic partners,
      step-parents, step-siblings, step-children, grandchildren, grandparents, and spouse’s grandparents.


ITEM 19 – LOCOMOTIVE STANDARDS

  (a) Establish standards for the collection and use of any information or data captured by a recording device on
      a locomotive.

  (b) Provide uniform locomotive cab standards including, but not limited to: climate control, cleanliness, seating
      and cab equipment, and other such appropriate facilities to facilitate safe and efficient operations.

  (c) Require carriers to provide air ride or other suitable shock-absorbing seats on all locomotives.

  (d) Require carriers to provide functional air conditioning on all lead locomotives.
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  (e) Require carriers to provide a working microwave on locomotives used in through freight service.

  (f) Require carriers to provide a working hot plate on locomotives used in through freight service.

  (g) Require carriers to provide a working coffee maker on locomotives used in through freight service.

  (h) Require carriers to provide a functioning toilet on all occupied locomotives used in yard or road service.

  (i) Establish a National Locomotive Cab Committee.


ITEM 20 – JURY DUTY

  (a) Provide that employees will be made-whole for all time lost as a result of being summoned for jury duty.


ITEM 21 – LODGING

  (a) Carrier-provided lodging, including meal allowances, for employees forced to a permanent vacancy more
      than 30 miles from their home terminal.

  (b) Establish minimum standards for away-from-home terminal lodging facilities and twenty-four (24) hour
      dining facilities, and provide suitable transportation to and from dining facilities.

  (c) Provide reverse lodging to employees, where applicable.

  (d) Provide individual lockers for all employees at away from home terminal/lodging facilities.


ITEM 22 – DEADHEADING

  (a) All deadheads to be paid at a basic day or trip rate, whichever is greater in all classes of service.

  (b) Eliminate two-tier pre/post 85 pay for deadheads.

  (c) Wait time pay on minute-by-minute basis for all time in excess of thirty (30) minutes spent waiting on
      carrier-provided transportation (paid in addition to regular service).

  (d) Provide that train crews will not be deadheaded via locomotives.


ITEM 23 – EMPLOYMENT AND FURLOUGHS

  (a) Eliminate Article XII of the 1985 UTU National Agreement in its entirety.

  (b) Provide carrier-subsidized vocational training for all furloughed employees.

  (c) Establish a rule requiring all railroads signatory to the National Agreement to give first employment
      consideration to qualified conductors who are furloughed from other signatory railroads. (If an individual
      is furloughed, he/she would be able to put their name on a list to be given first consideration for employment
      on other railroads.)
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   (d) Guarantee a minimum of sixty (60) days of work and/or compensation for employees who are furloughed
       and called to return to work.

   (e) Employees holding train service seniority will be the first source of supply for establishing Yardmaster
       seniority. Such positions will be filled by the senior represented employee making application solely on a
       voluntary basis.


ITEM 24 – PERSONAL PROTECTIVE EQUIPMENT

   (a) Require carriers to provide all personal protective equipment.


ITEM 25 – NEW HIRE PROCESS

   (a) A SMART-TD designated officer will attend and contribute input for all crafts represented by such
       Organization during the carriers’ hiring process.

   (b) Require carriers to provide a quarterly report of the total number of assignments/positions by terminal or
       district.

   (c) Require carriers to provide a monthly non-dues paying report to the General Chairperson(s).


Savings Clause – The above Notices, or any of them, or any part of them, shall not apply on any property where
they are already in effect, or where more beneficial provisions are already in effect.
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                   SMART TRANSPORTATION DIVISION YARDMASTER ISSUES
                              (In addition to those listed above)

ITEM 26 – WAGES

  (a) Provide a series of General Wage Increases (GWIs) to become effective January 1, 2020, and every six (6)
      months thereafter, which shall be applied to all components, including but not limited to arbitraries,
      differentials, miscellaneous rates, special allowances, daily, weekly, and monthly guarantees based upon
      hourly or daily rates of pay, including those expressed in terms of miles, and overmiles.

  (b) Require carriers to pay retroactive pay, if necessary, to January 1, 2020. In addition, all retroactive wage
      adjustments will be made by separate check to the employee within thirty (30) days of ratification of the
      agreement.

  (c) An itemized statement detailing each employee’s retroactive wage adjustment calculations will be provided
      to affected employees at the time of payment.

  (d) Provide for Cost-of Living Adjustments, (COLAs) in addition to GWIs, every six (6) months.

  (e) Signing bonus of five thousand dollars ($5,000.00) to be paid within thirty (30) days of ratification of the
      agreement.

  (f) Annual year-end bonus/profit sharing/stock options, to be paid by December 1 of each calendar year.


ITEM 27 – YARDMASTER PROTECTION (SCOPE)

  (a) The term “Yardmaster” as used in this agreement shall be construed to mean Yardmasters of all grades,
      including relief and extra, except footboard Yardmasters.

  (b) Yardmasters will have the exclusive right to instruct and supervise all train and engine service crews,
      regardless of carrier nomenclature or class of service, while they occupy other than main line trackage
      within their respective districts

  (c) The duties and responsibilities of Yardmasters shall include: supervision over employees directly engaged
      in the switching, blocking, classifying and handling of cars, trains and duties directly incidental thereto that
      are required of the Yardmaster in a territory as designated by the carrier and such other duties as assigned.

  (d) Yardmaster work cannot be transferred, consolidated, combined or centralized to any location outside the
      terminal, regardless of seniority districts, unless a demonstrative decline in volumes of cars in/out and a
      reduction of crews supervised to one (1) crew regardless of class of service. When Yardmaster work is
      transferred outside of the location, it will be done in accordance with the provisions of New York Dock.
      An incumbent on a position transferred and those that may fall out at the bottom will be automatically
      certified as adversely affected.

  (e) Other properly authorized representatives of the Company may, incidental to their other duties, perform
      duties performed by Yardmasters so long as such performance does not result in the elimination of a
      Yardmaster’s position.


ITEM 28 – EXTRA BOARDS

  (a) Establish and maintain a guaranteed extra boards at all terminals where there are regular assigned
      Yardmasters.
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  (b) Guaranteed extra board Yardmasters will have two (2) assigned rest days designated by the carrier. Rest
      days do not need to be consecutive, however, the carrier will make every attempt to do so.


ITEM 29 – YARDMASTER VACATIONS

  (a) Reduce the number of years necessary to qualify for a vacation and increase the total number of vacation
      weeks, as follows:

          •   One (1) year of service provides two (2) weeks.
          •   Five (5) years of service provides three (3) weeks.
          •   Ten (10) years of service provides four (4) weeks.
          •   Fifteen (15) years of service provides five (5) weeks.
          •   Twenty (20) years of service provides six (6) weeks.
          •   Twenty-five (25) years of service provides seven (7) weeks.

  (b) Apply 1/52 pay or a basic day (whichever is greater) to fall in line with the other crafts.

  (c) Recognize that compensated service days of employees transferring to Yardmaster service from all non-
      Yardmaster crafts will be used in determining previous year qualifying days and accumulated qualifying
      days.

  (d) Allow all vacation weeks to be taken in single day increments.

  (e) Employees who do not accrue the required days for full vacation entitlement shall have vacation entitlement
      pro-rated, based on actual qualifying days accrued in the previous calendar year.


ITEM 30 – YARDMASTER PERSONAL LEAVE DAYS

  (a) Change the allotment of personal leave days to match the number of paid holidays. Yardmasters may choose
      to either receive paid compensation for the holiday or waive holiday pay in lieu of an accrued personal day.

  (b) Allow Yardmasters to carryover any unused personal leave days to the subsequent calendar year.


ITEM 31 – MEAL ALLOWANCE

  (a) Provide Yardmasters an automatic arbitrary payment of one (1) hour of straight time, added to their daily
      wage, in lieu of taking their allotted meal period.


ITEM 32 – DISPLACEMENTS

  (a) Regular assigned Yardmasters that are displaced will bump a junior Yardmaster (per Applicable
      Agreement) where their seniority allows, or be placed on an unassigned extra board, and be allowed to flow
      back to his/her previous craft (if allowed by agreement) and will be required to protect all vacant
      Yardmaster positions.


ITEM 33 – YARDMASTER JOB ABOLISHMENTS
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  (a) Require a time study of at least ten (10) days prior to the abolishment of Yardmaster positions. The General
      Chairperson or his/her designee, along with a duly authorized company official, will be present during such
      time study period.

  (b) Yardmasters shall be allowed a one-time system transfer if his/her terminal is shut down and there is no
      Yardmaster work being performed. The affected Yardmaster shall be placed at the bottom of the seniority
      roster.


ITEM 34 – TRAINING ALLOWANCE

  (a) Yardmasters will be compensated four (4) hours straight time pay while training any new Yardmaster, or
      when providing remedial training for Yardmasters.

  (b) Yardmasters will be compensated at their daily rate when familiarizing at a different location with a
      minimum of forty-five (45) starts.

  (c) Yardmasters who have not worked at a location for one (1) year will be afforded a minimum of forty-five
      (45) starts in order to refamiliarize at the new location. Additional compensated training shall be allowed
      as needed.


ITEM 35 – SICK LEAVE

  (a) Amend the Yardmaster Supplemental Sickness Plan to provide benefit payments beginning the first day of
      sickness.

  (b) Amend the Yardmaster Supplemental Sickness Plan to allow yardmasters who are on a military or
      government pension to be entitled to full Yardmaster sickness benefits when off due to illness or sickness
      with Trustmark Insurance.

  (c) Establish two (2) paid sick leave days per month for all Yardmaster employees, without censure or
      discipline.


ITEM 36 – LIFE INSURANCE

  (a) Increase the benefit under the Yardmasters’ supplemental life insurance Policy to fifty thousand dollars
      ($50,000.00) for active employees, and twenty thousand dollars ($20,000.00) for retirees.


ITEM 37 – SUPERVISION OF REMOTE CONTROL

  (a) Yardmasters supervising crews that operate remote controlled equipment will be compensated an additional
      arbitrary payment of one (1) hour at straight time pay.


ITEM 38 – BEREAVEMENT LEAVE

  (a) Provide improvements in compensation and number of allowable days off for bereavement leave.

  (b) Expand the persons for whom such leave and compensation will be allowed to include domestic partners,
      step-parents, step-siblings, step-children, grandchildren, grandparents, and spouse’s grandparents.
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ITEM 39 – HOLIDAYS

   (a) Increase the number of paid holidays to include Martin Luther King’s birthday, Mother’s Day, Father’s
       Day, Halloween, and Veteran’s Day.

   (b) Pay time and one-half to employees who are not currently covered under the National Holiday Rule for
       working on a holiday.

   (c) Holiday pay for all assignments not currently covered under the National Agreement.


ITEM 40 – MATERNITY LEAVE

   (a) Yardmasters will have the option to take up to three (3) out of six (6) weeks of paid maternity leave. This
       would apply to both parents.


ITEM 41 – YARDMASTER TURNOVER TIME

   (a) Increase turnover time to a guaranteed minimum of thirty (30) minutes.


ITEM 42 – 401K PLAN

   (a) Establish an employer-contribution 401k Plan, with matching employee contributions of ten percent (10%).
       This 401k Plan shall be in addition to any other plan currently available.

   (b) The fees associated with this plan will be the responsibility of the carrier.


ITEM 43 – SERVICE SCALE

   (a) Eliminate all rate progression when promoted to Yardmaster.


ITEM 44 – UNASSIGNED YARDMASTERS

   (a) Unassigned Yardmasters with insufficient seniority to hold a regularly assigned Yardmaster position will
       be established only after a guaranteed extra board Yardmaster position is established.


ITEM 45 – YARDMASTER PROTECTION

   (a) Yardmasters will remain at their respective location should they be forced to control another yard location.


ITEM 46 – SHIFT AND WEEKEND DIFFERENTIAL

   (a) Provide weekend differential payment for Yardmasters working 1st shift.

   (b) Provide differential payment for all Yardmasters working 2nd shift.

   (c) Provide differential payment for all Yardmasters working 3rd shift.
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   (d) Such pay differentials shall be subject to all future GWIs and/or COLAs.


ITEM 47 – JURY DUTY

   (a) Provide that Yardmasters will be made-whole for all time lost as a result of being called for jury duty.


ITEM 48 – TECHNOLOGY

   (a) Provide technology payment for any current and future responsibilities that involve the use of handheld
       reporting devices or camera monitoring devices to perform Yardmaster duties at remote locations.


ITEM 49 – NEW HIRE PROCESS

   (a) An officer designated by the Organization will attend and contribute input for all crafts represented by such
       Organization during the carriers’ hiring process.


Savings Clause – The above Notices, or any of them, or any part of them, shall not apply on any property where
they are already in effect, or where more beneficial provisions are already in effect.
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              SMART TRANSPORTATION DIVISION ATTACHMENT “B”
                           HEALTH & WELFARE

                                       November 20, 2019

               The NRC/UTU Health and Welfare Plan (GA-690100) and
          The Railroad Employees National Health and Welfare Plan (GA-23000)

ELIGIBILITY

  (1)   Provide extended benefit coverage to eligible dependents for one full calendar year following
        the death of a covered employee.

  (2)   Provide extended coverage to furloughed employees for twelve (12) months following the
        month in which such employees last rendered compensated service or received vacation pay,
        provided the employer has transmitted at least three (3) monthly payments to the Plan on behalf
        of such employees prior to furlough. During such 12-month period, the furloughed employee
        shall be reported under “active” employee status.

  (3)   Provide full Plan coverage to an employee who is suspended or dismissed from service, and to
        his eligible dependents, until final disposition of the matter under the Railway Labor Act. Until
        such final disposition, the employee shall be reported under “active” employee status.

  (4)   Provide full Plan coverage to an employee who becomes disabled, and his dependents, until
        such time as the employee and/or spouse become eligible for Medicare and child dependents
        reach age 26.

  (5)   Eliminate the seven (7) calendar days per month eligibility requirement (the so-called “7-day
        rule”) for benefit coverage under the health and welfare, dental and vision plans.

  (6)   Dependents of employees on active military status will be provided full coverage for the length
        of a standard tour of duty plus 6 months.

  (7)   Extend full coverage to step-grandchildren residing with an employee, and any other children
        placed with the employee by court order or related to the employee by blood and/or marriage.


AUTISM SPECTRUM DISORDERS

  (1)   Provide services for Autism Spectrum Disorders without regard to age where benefits don’t
        already exist.

  (2)   The Plan shall provide coverage for the diagnosis of autism spectrum disorders and for the
        treatment of autism spectrum disorders to the extent that the assessment, diagnosis and
        treatment of autism spectrum disorders are not already covered by the Plan.

  (3)   Treatment for autism spectrum disorders shall include, but is not limited to, the care prescribed,
        provided, or ordered for an individual diagnosed with an autism spectrum disorder by (a): a
        physician licensed to practice medicine, or (b): a certified, registered, or licensed health care
        professional with expertise in treating effects of autism spectrum disorders. Such coverage shall
        include but is not limited to: Applied Behavior Analysis Therapy, Speech Therapy, Social
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         Skills Therapy, Occupational Therapy, and Physical Therapy, Psychological, Psychiatric, and
         Pharmaceutical Care, and Diagnosis and Assessments.

  (4)    Coverage for autism shall not be subject to any maximum benefits, nor subject to any limits on
         the number of visits to a service provider.


PRESCRIPTION DRUG BENEFIT

  (1)    Prescription drug co-pays shall be as follows:

             Retail:
             Generic - $0
             Brand Name Formulary - $5
             Brand Name Non-formulary - $10

             Mail Order:
             Generic - $0
             Brand Name Formulary - $10
             Brand Name Non-formulary - $20

  (2)    Increase the day's supply of medication at retail pharmacies to 30 days.

  (3)    Eliminate dosage/quantity restriction limits where they exist for medications/therapy when the
         FDA has ruled the medication/therapy is appropriate for one or more medical conditions.


COORDINATION OF BENEFITS

  (1) Modify the Coordination of Benefits provisions to eliminate the so-called ‘non-duplication’
      provisions and allow reimbursement up to 100% of allowable charges.

  (2) Modify the in-network benefits to eliminate copays, deductibles and coinsurance for two married
      railroad employees and their eligible dependents to allow reimbursement at 100% of allowable
      charges.


REASONABLE AND CUSTOMARY DETERMINATIONS

  (1)    Increase the threshold for R&C determinations to the 95th percentile of data selected by the
         Plan.


HEARING BENEFITS

  (1)    Provide an annual hearing benefit of $4,000 for each covered person.


BIRTH CONTROL/REVERSAL

  (1)    Provide coverage to males under the Plan for voluntary sterilization and/or reversal.
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EMPLOYEE CONTRIBUTIONS

  (1)    Eliminate all employee cost-sharing contributions.


EMPLOYEE OPT-OUTS

  (1) Increase payments to employees who opt-out of Plan coverage to $250 per month.


DEPENDENT PREGNANCY

  (1)    Provide full coverage for pregnancies of female dependent children where benefits don’t
         already exist.

  (2)    Provide full coverage for new born children of female dependent children through age two (2)
         where benefits don’t already exist.


SPEECH THERAPY

  (1)    Provide services to restore or improve speech for employees and all eligible dependents without
         regard to age where benefits don’t already exist.


HOSPICE BENEFITS

  (1)    Increase the hospice benefits to reasonable and customary charges for each course of care.


REPATRIATION INSURANCE

  (1)    Provide medical evacuation and repatriation insurance to cover 100% of the cost for the
         transportation or a participant and or dependent(s) via air or ground ambulance from any
         location more than 100 miles from their home or from a foreign country to their home location
         or a medical facility within 30 miles thereof. Such coverage shall include bed-to-bed service;
         the cost of a medical escort; travel costs for dependent spouse and/or children; repatriation of
         mortal remains, including all transportation, logistical and legal arrangements in connection
         therewith; transportation of baggage and/or belongings back to the home of the
         participant/dependent; legal services arising in connection with medical situations.


HEALTH RISK ASSESSMENT INCENTIVE

  (1)    Establish an incentive payment of $300 for the completion of a Health Risk Assessment as well
         as the completion of the corresponding bio metric screenings by an employee or dependent age
         18 or over.
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MANAGED MEDICAL CARE PROGRAM (MMCP)

  (1)   Reduce all existing co-payments under MMCP by $5 per visit, including emergency room
        visits.

  (2)   Reduce the in-network deductibles to $100/individual and $300/family.

  (3)   Reduce annual in-network, out-of-pocket maximums to $500/individual and $1,000/family.

  (4)   Provide out-of-network coverage where benefits don’t already exist for: Immunizations and
        well-person physical benefits without annual caps to include annual routine physical exams,
        (including diagnostic testing and immunizations); well-woman visits (including breast
        examination and/or mammogram, pelvic examination and pap smear); child preventive care
        given in connection with routine pediatric care, (including immunizations for children as
        recommended by CDC). • Annual prostate cancer screening at no cost to the participant.

  (5)   Eliminate the non-notification penalty under the Care Coordination/Medical Management
        Program for out-of-network services where required.

  (6)   Provide for a combined annual patient maximum of $500 cap for copays for chiropractic and
        physical therapy services.

  (7)   If a participant's primary care physician, treating specialist or other provider, or preferred
        hospital or facility, terminates network participation due to a contract cancellation with the
        insurance company providing coverage to the participant, allow the participant to elect
        coverage under one of the other insurance carrier(s) in that market anytime during the year.


COMPREHENSIVE HEALTH CARE BENEFIT (CHCB)

  (1)   Provide 90/10 co-insurance under the CHCB plan.

  (2)   Reduce the annual deductibles to $100/individual and $300/family.

  (3)   Reduce annual out-of-pocket maximums to $1,000/individual and $2,000/ family.

  (4)   Provide annual prostate cancer screening at no cost to the participant.

  (5)   Eliminate the non-notification penalty under the Care Coordination/Medical Management
        Program.

  (6)   Provide for a combined annual patient maximum of $500 coinsurance for chiropractic and
        physical therapy services.


MANAGED MENTAL HEALTH AND SUBSTANCE ABUSE BENEFIT (MHSA)

  (1)   Reduce all in-network outpatient co-payments under MHSA for those under MMCP.

  (2)   Eliminate the non-notification penalty for out-of-network services.
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LIFE/AD&D INSURANCE

  (1)       Increase Active Employee Life Insurance to $50,000.

  (2)       Increase Retired Employee Life Insurance to $20,000.

  (3)       AD&D - increase coverage to the following:

            TABLE OF COVERED LOSSES AND BENEFIT AMOUNTS

            COVERED LOSSES                                BENEFIT AMOUNTS
            Life                                               $50,000
            A hand*                                            $8,000
            A foot*                                            $8,000
            Sight of an eye                                    $8,000
            Loss of more than one of the above
            in any one accident                                    $16,000
            Paralyzation                                           $25,000

            Loss of sight of an eye means that the eye is entirely blind and that no sight can be restored in
            that eye.
            Loss of a hand means that all of the hand is cut-off at/or above the wrist.
            Loss of a foot means that all of the foot is cut-off at/or above the ankle.
            *Loss of a hand or foot shall also include the loss of use of a hand or foot even if the limb is
            still intact.
            Paralyzation means the loss of use of the extremities of the body as a result of an accident, such
            as, but not limited to paraplegia, quadriplegia, or hemiplegia occurring from a traumatic brain
            injury.
            Not more than $50,000 will be paid for all covered losses caused by all injuries which are
            sustained in one accident.


RAILROAD EMPLOYEES NATIONAL DENTAL PLAN (GP12000-A)

        Eligibility

  (1)       Provide full Plan benefits to new employees and eligible dependents on the first day of the
            month following the month in which such employees render compensated service.

  (2)       Provide full Plan benefits to dependents on the same basis as those under the medical Plans,
            including but not limited to age 26, without regard to marital status, residence, or full-time
            student status.

  (3)       Provide full Plan coverage to an employee and eligible dependent that is suspended or
            dismissed from service until final disposition under the Railway Labor Act.

  (4)       Extend dental coverage for retirees and their eligible dependents until the employee reaches
            age 65 or becomes eligible for Medicare, whichever is the latter.
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        Benefits

  (1)      Eliminate the annual deductible.

  (2)      Increase the annual maximum to $4,000.

  (3)      Increase Type B coverage to 100%.

  (4)      Increase Type C coverage to 75%.

  (5)      Increase orthodontia benefit to 75% with a maximum of $4,000.

  (6)      Provide orthodontia coverage to all employees and covered dependents regardless of age.

  (7)      Eliminate the alternate treatment provisions of the Plan.


RAILROAD EMPLOYEES NATIONAL VISION PLAN

        Network

  (1)      Provide full Plan benefits to new employees and eligible dependents on the first day of the
           month following the month in which such employees render compensated service.

  (2)      Provide full Plan benefits to dependents on the same basis as those under the medical Plans,
           including but not limited to age 26, without regard to marital status, residence, or full-time
           student status.


        In-Network Benefits

  (1)      Increase the frame allowance to $250 per calendar year.

  (2)      Provide full coverage for the following options:

           Scratch Coating

           UV Protection

           Anti-Reflective Coating

           Photochromic Lenses

           Progressive Lenses

  (3)      Increase the allowance for contact lenses to $250 per calendar year.

  (4)      Provide full coverage for corrective eye surgery, including but not limited to laser eye surgery,
           to correct vision in one or both eyes.

  (5)      Eliminate lens exclusions for oversized lenses.
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HOSPITAL ASSOCIATIONS

  (1)   Amend the “Dues Offset Formula” to provide that Hospital Association dues offsets will be
        increased by the same percentage that Plan costs increase for a given year. Thereafter,
        adjustments, if any, shall be made annually on January 1st of each subsequent year.

  (2)   The so-called pick-up and/or runout liability fees for any employees (or dependents, if
        applicable) transferring from Hospital Association Railroads to Non-Hospital Association
        Railroads and/or transferred from Non-Hospital Association Railroads to Hospital Association
        Railroads will be borne by the Railroads.

  (3)   Disabled or Retired Hospital Association members whose coverage is disrupted for any reason
        other than non-payment of Association dues will be allowed to enroll in the Railroad
        Employees National Early Retirement Major Medical Benefit Plan (GA-46000) without
        penalty provided they would have met the eligibility requirements at the time they retired.

  (4)   Treat Dependent Spouses covered as Employees under a Hospital Association Plan the same
        as two married railroad employees covered under the Plan who are not covered under a Hospital
        Association Plan.

  (5)   Allow for coordination of benefits for employees and eligible dependents between the Hospital
        Association and the National Plan to provide for annual family deductibles and out-of-pocket
        amounts not to exceed those amounts agreed to under the National Agreement.


NATIONAL HEALTH LEGISLATION

  (1)   In the event that further national health legislation should be enacted, benefits provided under
        The Railroad Employees National Health and Welfare Plan, The Railroad Employees National
        Early Retirement Major Medical Benefit Plan, The Railroad Employees National Dental Plan
        and The Railroad Employees National Vision Plan with respect to a type of expense which is
        a covered expense under such legislation will be integrated so as to avoid duplication, and the
        parties will agree upon the disposition of any resulting savings.

  (2)   Should national health legislation repeal or eliminate any health care coverage or individuals
        provided under the Plan, such coverage and individuals will continue to be covered without
        regard to national legislation.


GENERAL

  (1)   The JPC shall be joint policyholders and will jointly participate in the selection of the insurance
        company or companies or other administrators required to administer all benefit Plans covering
        employees subject to this Agreement, shall jointly determine the plan benefits needed to meet
        the changing needs of the employees and otherwise jointly administer all of the Plans' activities.
        The Joint Plan Committee shall oversee and administer the Railroad Employees National
        Health and Welfare Plan, the Railroad Employees National Early Retirement Major Medical
        Benefit Plan, the Railroad Employees National Dental Plan, the Railroad Employees National
        Vision Care Plan, the various plans established to provide supplemental sickness benefits to
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        covered employees and any and all plans which may hereafter be developed or introduced to
        provide health and welfare benefits to active and retired employees and their eligible
        dependents.

  (2)   Eliminate the exclusion of benefits for treatment by a family member who is otherwise a
        qualified provider, from any and all plans containing such exclusion.
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Effective February 1, 2022

BNSF System General Notice No. 46 (TY&E Failure to Take Notification) 156 (TYE Earned Rest),
208 (Guidelines for TYE and Yardmaster Attendance) and 223 (TY&E Time Off) are canceled.


BNSF Hi-Viz Guidelines for TYE and Yardmasters

Hi-Viz Guidelines is a tally system that:

    • Sets a clear standard for full-tir'ne er'nployment

   •   Allows employees to easily, accurately, and contemporaneously determine where they
       stand in comparison to BNSF's attendance standard

   •   Provides employees with an opportunity to improve their standing through
       regular/steady attendance

1. Assessment of Points

Subject to the Point Schedule below, employees begin with 30 points and points are deducted
for various incidents of non-attendance including both full and/or partial day absences.

   a) Point deductions are determined based on the type of service the employee is in at the
      time of the unavailable event.

   b) Unavailable time is associated with the day the event began.

   c) Unavailable time is measured in 24-hour increments.

   d) High Impact Day (HID} point values apply if:

       •   For unassigned service: The unavailable event occurs on the day of the HID, Or' the
           unavailable event occurs prior to the HID and employee is not marked up by 0600 on
           the HID.
       •   For assigned service: The employee misses their assigned shift on the HID.

   e) Any unavailable event that immediately (not separated by a work event) precedes or
      follows a VAC, PLO, UNB, SRS, FML, CLO event will be charged an additional 2 points for
      Unassigned Service and an additional 3 points for Assigned Service regardless of day of       ...
      week. This is referred to a Conjunction Penalty.




                                                                                   Ex. C        1
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      •         EMC/LOC/NOS are the exception; they will continue to be charged according to
                Point Schedule

   f} Handling results each time the employee exhausts their points.

   g) Each employee has electronic access to their point record.

      •         Any addition or deduction in points is reflected in this record.

Point Schedule
                                                          Unassigned Service                 Assigned Service
                       Incident                              Point Value                       Point Value
                                                  M-TH      FR-SA      SU      HID           MO-SU      HID
                   NOS (No Show)                    -20      -20       -20         -25         -20      -2 5

  EMC (Missed Call)/ LOC (Layoff on Call)           -15      - 15      -15         -20         - 15     -20


                  Unavailable Event                 -2        -4       -3          -7          -7       -10

Unavailable Evens include: LOS (Sic ), LOP (Personal Business). SIF (Sic ness in Fa ily),
FEM (Family Emergency), LOF ( a igue}, l.XU (Failure o ake o ifica ion), LFT ( ailure o Tie Up),
LOA (Layof A ive Board/ Away Ter inal or A er S art o Shi ), LOO (Layo Dressed & Ready o Work}

2. Good Attendance Credits

   a) An employee is awarded a Good Attendance Credit - worth 4 points - for any 14-day
      period they work without an unavailable event and in which they are not otherwise
      absent from work. Example: An employee remains available between March 1 and
      March 14, they will receive a Good Attendance Credit on March 15. If they continue to
      remain available between March 15 through March 28, they would earn another credit
      on March 29.

   b) Good Attendance Credits are earned for any 14-day period if the employee:

           i.      Has no Unavailable events, NOS, EMC, or LOC.

          11.      Has not otherwise been absent for any reason, apart from:
                   Training/Rules (CBT/RUL/LAH/ERC/DRT/CRN)
                   LET (Engineer Training)
                   LIT (working lite Duty)
                   Company business (LCB)
                   Military Leave/NGD with supporting LES and/or orders

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        iii.   Has no absences/leave other than those listed in 2.b.ii
               (e.g. does not have DIF, FML/PFM, FUR, LAM, LOJ, MED, MEV, LOI, HFS, LAB, R79,
               PLO, SUA/SUT, UNB, VAC, etc.).

         iv.   Has no bump board time> 2 hours after taking notification.

   c) An employee's point total cannot be greater than 30.

3. Discipline (10-day, 20-day and Dismissal)

a) The first 2 times an employee exhausts their points (balance reaches or falls below zero),
   they are subject to discipline.

b) The third time an employee exhausts their points, they are subject to Dismissal.

c) Following 10-day and 20-day discipline, the employee's point total will be reset at 15.

d) If an employee remains Hi-Viz discipline free for 24 months, then Hi-Viz progression is reset.
   Therefore, the next infraction will be a 10-day suspension.

e) Maintaining a positive point balance does not preclude the company from challenging an
   employee's full-time status requirement based on another reasonable standard.

4. Initial Placement in Discipline Process

Employees with active discipline for BNSF Attendance Guidelines at the time of the cut-over to
the new Hi-Viz Guidelines will be considered to have already received the equivalent Discipline
Step.

Hi-Viz Guidelines are not intended lo assess points for use of any legally protected leaves such
as FMLA (Family and Medical Leave Act) or other leave of absences that are properly certified
and/or documented. But as noted above, there are only 6 types of absence that allow for the
good attendance credit referenced in Section 2 above.

BNSF leadership should consider all relevant information when using lhe Guidelines. In every
case, they should apply the Guidelines with consistency and common sense.

NOTE: Being unaware of your point total is not an excuse for exhausting your points.




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TYE Time Off
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A. Laying Off on Call
B. Emergency Lay Off
C. Bereavement Leave and DIF Layoff Codes
D. Pre-Approved Lay Off System
E. Lay Off Process for Military Personnel
F. Jury Duty
G. Lay Off Fatigue
H. Lay Off/Mark Up for Outlying Assignments
I. High-Impact Days
J. Failure to Take Notification



A. Laying Off on Call

Employees MUST NOT lay off on call. For employees in planner-activated pools, a layoff while
on the active board will be considered as laying off on call.



B. Emergency Lay Off

Lay off code "FEM," Family Emergency, is defined as a lay off code for an emergency involving
an employee or their family. An "emergency" under this code is an unforeseen circumstance
that requires immediate action and is of such seriousness and magnitude that the employee
must immediately absent themself from duty and no other layoff code governs the situation,
e.g. DIF, LOS, SIF, etc. Employees must use the layoff code that most appropriately describes
the reason for the absence and may not use "FEM" as an excuse to be absent from duty for
reasons other than those that can accurately be described as an emergency. Use of code "FEM"
will be closely monitored.

Once granted authorization for layoff code "FEM," the employee must contact their supervisor
within 24 hours to provide reason for the FEM. Misuse will result in corrective action against
the offender and review of the code "FEM" as an unrestricted emergency code.


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C. Bereavement Leave and DIF Layoff Codes

Train, yard and engine employees who unfortunately suffer the loss of a family member
covered by Bereavement Pay agreements can use the layoff code DIF (Death in Family) in the
Workforce System to mark off. Employees will be automatically marked up from DIF at the
expiration of the approved time off.

Family members who are covered by all the Bereavement Pay agreements include brother,
sister, parent, child (including a legally adopted child), spouse and spouse's parents. Based on
the location and craft of the employee's current assignment, additional family members
covered may include grandchildren, half and stepbrothers, sisters and stepchildren. Refer to the
agreement covering the employee's area or visit the Labor Relations' website under the TYE
Payroll Services link.

The Bereavement Pay agreements provide for 3-day's pay at the agreed to pay rate. The
employee need not have stood for work on 1 or more of the days to receive payment, and all 3
days qualified for bereavement pay will not count as an absence under the Hi-Viz Guidelines.

Employees claiming bereavement leave should use CA Code 05 on a special claim and send the
obituary notice with the special claim ticket number to TYE Payroll Services via email at
FINDLTYEBereavementPay@BNSF.com or fax to 785-676-5 186 or 8-676-5186.

BNSF understands a person may lose a family member not covered by the Bereavement Pay
agreements. The DIF code should not be used in these cases, but the code FEM (Family
Emergency) is available for immediate layoffs. Documentation must be maintained that
explains the absence in the event the employee is required to provide the information to their
supervisor. The supervisor may also help schedule additional time off through use of alternate
codes such as LOP (Layoff Personal), PLO (Personal Leave Day), or a Leave of Absence if
applicable.

Employees who lay off DIF, but do not send the supporting documentation to TYE Payroll
Services will be considered unavailable for duty and handled in accordance with the Hi-Viz
Guidelines.

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D. Pre-Approved Lay Off System

The following enhancements have been made to the pre-approved lay off system. The
supervisor should be contacted if there are any questions.




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    •   In the 30-day period between day 90 and day 60, BNSF will accept and hold all requests
        for PLD and SDV only. On the 60th day prior to the layoff date TSS will distribute the
        allocation of days according to seniority.

    •   Requests 60 days in advance and less, employees can be approved for up to four unpaid
        personal days (identified by layoff code LOP). Employees are still able to request all of
        their PLD and SDV days. When calculating LOP days, any portion of a calendar day is
        considered one day.

   •    Once approved, individuals can move an LOP, SDV, or PLD up or back one calendar day.
        The employee can request this change of start day within 48 hours of requested start
        time.

   •    There is a monthly process for supervisors, crew managers and local chairmen to review
        availability and set allocation for upcoming advance allocation periods

   •    Employees may request a single day of vacation or a personal leave day between 60 and
        90 days in advance of the day it would be taken. For example, on September 8, an
        employee could request a day off that he/she plans to take November 7. The employee
        will be able to check if the request has been approved 60 days in advance or at 0001
        September 9. Employees can request as many vacation or personal leave days they have
        currently available to them.

Bidding process and sliding process

Employees can enter a pre-approval layoff request for a single day or multiple days. If a
multiple day request is entered, the request cannot be submitted until the whole request is
within the request window. None of the days will be considered for approval until the entire
request is within the approval window as the program will not address (approve/deny) until of
the last calendar day of the multi-day request.

Employees desiring high demand days off are encouraged to enter their requests one day at a
time so that each day will be considered as it reaches the approval date. For example, an
employee makes a three-day request for PLD. All 3 days have to be within the 90-day window
before the request can be entered into the system.

At 60 days prior to day one of the request, the first day of the request will not be considered for
approval because portions of a three-day request cannot be approved. All 3 days of the request
must be within the 60-day window for any of it to be considered Entering single days at a time
eliminates the possibility of an allocation being full before a multiple day request will be taken     .r
into consideration .



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Assigned employees cannot slide their requests as they already have assigned rest days. The
slide function was designed for unassigned service where start times are not known in advance.

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E. Lay Off Process for Military Personnel

Two distinct lay off codes have been established which apply to military service. It is important
to use the appropriate lay off code to distinguish between these two types of military service,
as these codes ultimately drive benefit and pay eligibility.

NGO= This code should be used only for National Guard, Drill, Training or State Emergencies.

Note: NGO leaves greater than 10 days must be covered by a leave of absence.

MLV =This code should be used for all other military service including:
Global War on Terror (Operation Iraqi Freedom, Operation Noble Eagle and Operation Enduring
Freedom), enlistment into the military, or any other military service or training (other than
National Guard).

Note: Military leaves greater than 10 days must be covered by a leave of absence.

Benefit Coverage

Employees who wish to retain coverage under the BNSF program while on leave will continue
to pay the monthly contribution . Contri bution will be taken out of any make whole payments
received from BNSF while on leave. Otherwise, these contributions are required to be caught
up upon return .

Compensation

Employees should send paperwork supporting Military Pay claims and any questions regarding
pay for Military leaves to FINDLTYEMilitary@BNSF.com.

Note: Employees who wish to earn Good Attendance Credit must submit their LES or t raining
documentation no later than 60 calendar days after their return to work from leave.

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F. Jury Duty

BNSF and the Labor Organizations representing BNSF employees support employees
summoned to perform their civic duties in the form of Jury Duty by providing negotiated

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agreements for compensation for time lost to employees who are summoned for Jury Duty. The
collective bargaining agreements will govern any dispute as to compensation for Jury Duty.
However, the following guidelines are provided to minimize such disputes and provide for
prompt and proper payment of valid Jury Duty claims. In the event of a dispute, BNSF and the
appropriate Labor Organization will work to resolve the matter.

Employees instructed to report for Jury Duty at a specific date and time are authorized to mark
off for Jury Duty to make sure they are rested and available for Jury Duty. They are also
expected to make an effort to perform their normal duties whenever reasonably possible.

Employees subject to certain call-in or "stand by" notification procedures used by some courts
will remain marked up except in circumstances where protecting service will obviously
jeopardize such notification.

If there are questions about the ability to protect service, the employee should consult with a
designated supervisor before marking off and jointly set up a strategy to ensure compliance
with the court's instructions and to protect their assignment when reasonably possible.

Employees will be expected to mark up immediately upon release from the courts or, if on call,
immediately after receiving notification they will not have to report to the court.

To validate qualification and provide the proper documentation with the claim:

Qualifies for Jury Duty Lost Wages:

   •   Reporting at a specific location and time for jury selection and/or Jury Duty when an
       actual loss of wages occurs.

   •   Reporting for Jury Duty conflicts with the employee's ability to obtain rest under the
       Hours of Service Act before or after the Jury Duty. Booking additional rest does not
       apply to Jury Duty.

   •   Extra board personnel who mark off for 24 hours or less will receive the equivalent of a
       day's guarantee if the trip missed is not completed prior to the mark up.

Does Not Qualify for Jury Duty Lost Wages:

   •   Jury Duty that occurs on a rest day or other periods of scheduled or unsched uled time
       off when no loss of wages occurs.

   •   Layoffs when courts are not in session. Examples include weekends and major holidays.




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   •   Any days over the 60-day maximum. The Agreements provide for a maximum of 60 days
       in any calendar year.

   •   Failure to follow supervisor's recommendations for protecting service or reporting at
       the court without specific instructions to do so.

Supporting Documentation for Jury Duty Claims:

   •   The following information must be included on the Jury Duty claim:

       o   Date(s) scheduled for Jury Duty
       o   Location
       o   Time scheduled to report
       o   Time released for each day
       o   Lost trip information.

   •   The following documents should be sent to TYE Payroll Services via email at
       FINDLTYEJuryDutyPay@BNSF.com or fax to 785-676-5186 or 8-676-5186.

       o   A copy of the Jury Duty notice
       o   The Court's reporting instructions.
       o   A copy of the Court receipt for amount paid while performing Jury Duty which wili
           be deducted from the lost wage payment. Note: If payment is delayed or there is no
           payment for that day from the Court, authorization must be obtained from the
           supervisor for payment of lost wages.

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G. Lay Off Fatigue (LOF)

BNSF wants to ensure that everyone is rested and prepared to work safely. Employees who are
fatigued as a result of working numerous trips i n a row or working consecutive long trips can
use the LOF to take 24 hours off for rest. The LOF code may not be used for any other purpose
and employees who misuse the LOF code will be subject to discipline under the Policy for
Employee Performance Accountability. For example, this code may not be used to extend rest
days, vacation, or other layoffs. An LOF counts as an unavailable day under the Hi-Viz
Guidelines.

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H. Lay Off/Mark Up for Outlying Assignments

Following a layoff, employees assigned to outlying positions must mark-up prior to the tie-up of
their regular assignment in order to release the extra board employee covering their position. If
an assigned employee fails to mark-up prior the tie-up of their regular assignment, the extra
board employee will be held to protect the assignment's next tour of duty and the regular
employee will be charged an unavailable day (LOP) under the Hi-Viz Guidelines. This does not
apply going into the rest days of the assignment.

Example: Employee Smith fails to mark-up from a one-day sick layoff prior to the tie-up of their
assignment and, as a result, ends up missing two days of their assignment. Employee Smith will
be charged points for two assigned days under the Hi-Viz Guidelines.

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I. High-Impact Days

BNSF has the responsibility to provide our customers with reliable service every day, including
High-Impact Days. High-Impact Days are days that have historically reflected higher train crew
absenteeism and more missed opportunities to meet customer expectations. Those days are
currently identified as: New Year's Day, Super Bowl Sunday, Easter Sunday, Mother's Day,
Memorial Day, Father's Day, Independence Day, Labor Day, Halloween, Thanksgiving Day, Day
after Thanksgiving, Christmas Eve, Christmas Day, and New Year's Eve.

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J. Failure to Take Notification

An employee is required to accept notification when their assignment has changed (displaced,
forced, cut, awarded a successful bid, etc.). Employees then afforded their bump board time
based on the applicable CBA. An employee who has not accepted notification upon first
attempt will be placed in an LXX status until notification is accepted.

   •   Employees whose last inbound assignment upon tie up was "other than assigned
       service," the employee will have 10 hours to accept notification for all future bid/bump
       events which occur prior to their next work event. Employees who do not accept
       notification within 10 hours will have all time pending notification for that event count
       as unavailable time, and points will be deducted using Unassigned Service Point Value.

       o   0 to 10 hours - no exception
       o   >10 hours - points will be deducted according to the Hi-Viz Guidelines




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                                                                           System General Notice

    •   Employees in assigned service that are bumped or cut from their assignment while on
        duty arc cons:dcrcd "other than ass:gncd scr-.t:cc" upon t:c up.

   •    Being on a rest day does not exempt an employee from accepting change notification of
        an assignment.

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bumped while on duty, takes notification upon tie up and is placed on the bump board. The
employee's inbound status is "other than assigned service" account being placed on the bump
board.

Example of pending notification: An extra board employee is "rested" and available for caii at
1300. Upon the employee becoming rested, the Crew Office attempts to notify employee of a
displacement (bump) at 1301. The employee does not respond to the notification. The Crew
Office continues to attempt notification every 2 hours. If the employee has not taken
notification by 2301, the Hi-Viz system will recogn ize this employee as having more than 10
hours of avoiding notification and mark the employee with an unavailabiiity event. The crew
office will continue to attempt notification to this employee and the attendance system will
continue to account for time in which the employee has made themself unavailable.




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                                                                    Frequently Asked Questions


   If I am working in unassigned service and I work, inbound, and then LOS on the same
   day, do I still get charged for the LOS even though I worked that day?
   Yes, a LOS results in a point deduction regardless of whether you worked within the same day.

   If I lay off on a Thursday and mark back up late on a Friday will I be deducted points for
   both days?
   Layoff are charged based on the day the layoff begins (in this case - Thursday). If the layoff
   exceeds 24 hours, then a new charge begins for the next 24-hour period and so on. So, if your
   layoff is Jess than 24 hours you are only charged for a Thursday layoff. However, if the layoff is
   40 hours, then you are charged for both Thursday and Friday.

\J CLO?
   Is there a penalty point charge for layoffs connected to a VAC, PLO, UNB, FML, SRS, or
                                                                        ---
   Yes, any unavailable time that immediately (not separated by a work event) precedes or follows
   a VAC, PLO, UNB, SRS, FML, CLO event will be charged an additional 2 points for Unassigned
   SeNice and an additional 3 points for Assigned SeNice regardless of day of week. This is
   referred to as a conjunction penalty.
   EMC/LOG/NOS are the exception: they will continue to be charged according to Point Schedule.

   If I LOS on both sides of a vacation day, do I get a penalty point deduction twice?
   Yes, you lose points for the LOS prior to and the LOS after. And because the layoff is in
   conjunction with a vacation day, there is a penalty point deduction.

   Example: LOS on Monday, Vacation on Tuesday, LOS on Wednesday. In this example, you
   would be charged a total of 8 points if you are in unassigned seNice (2 points for each LOS,
   and an addition 2 penalty points for each LOS) and 20 points if you are working in assigned
   seNice (10 total points for each LOS- the initial 7 plus the penalty points) .

   I am in a 4/2 pool. Will I still get charged points for my rest days if I layoff following them?
   No, the only charge is the for the layoff itself.

   If I Smart Rest, and then layoff, will I be charged the penalty point deduction?
   Yes, layoffs following Smart Rest are charged the higher "penalty'' point value.

   How many points will I be charged if I change assignments mid-month?
   Points are driven by your assignment at the time of the layoff. Bump board is considered
   unassigned seNice, so if you layoff while on the bump board, your layoff is charged as an
   unassigned layoff.

   Why are the point values different from unassigned and assigned service?
   Point values are based on the employee's access to rest days/times.

   If I get sick at work and go home will I be charged points and if so, how much?
   LOA (Layoff Active Board/Away Tenninal or After Start of Shift) is considered an unavailable
   event and is charged according to the Hi- Viz Guidelines.




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                                                                   Frequently Asked Questions

  GOOD ATTENDANCE CREDIT

   Is the only way to get more points to go a full 14 days without a layoff event?
   Yes, you eam a Good Attendance Credit for any 14-day period you work without an unavailable
   event and in which you're not otherwise absent from work.

   Do I earn Good Attendance Credit if I am on a long term medical or furlough leave? What
   about if I am on suspension or HFS?
  None of these statuses would allow you to earn Good Attendance Credit. You can only earn
  points back if you are marked up and available to work.

  What about the 16 calendar days thing? Do I still need to be marked up and available a
  certain amount of time each month to keep my points?
   Regardless of the amount of time you are marked up and available, points for unavailable time
   are charged the same. However, by remaining available for 14 consecutive days you are eligible
   for a Good Attendance Credit.

   Can you accumulate more than 30 points?
   No, points are capped at 30.

   How does the consecutive 14-days work to earn the Good Attendance Credit?
   Let's share some examples: If an employee remains available between March 1 and March 14,
   they will receive a Good Attendance Credit on March 15. If they continue to remain available
   between March 15 through March 28, they would eam another credit on March 29.

  Now, if an employee has an unavailable event on March 30, and then comes back to work on
  April 2, the 14-day period restarts on April 3. They would be eligible to eam a Good Attendance
  Credit on April 17 if they remained available for the consecutive 14 days.

   Say an employee lays off sick on April 6, their 14-day period would restart on April 7. But then
   they take a vacation day on April 10, their new 14-day period restarts on April 11.

   FML

\Does Union Business (UNB) and/or FML layoff restrict me from earning a Good
  Attendance Credit?
   Yes, both UNB and FML preclude you from earning a Good Attendance Credit.

   Can I change a previous layoff to FML to avoid getting charged points?
   If you show that your intention was to use FML, and for whatever reason you were unable, that
   day can be converted to FML after that fact. Please be sure to include comments with your
   layoff indicating you intended to use of FML and communicate the issue with your supeNisor as
   soon as possible.

  What if I apply for FMLA, use it provisionally, and then my application is ultimately
  denied; will those provisional FML layoffs be changed to LOP?
  Yes. If your FMLA application is denied, then any FML layoffs used during the provisional
   approval period are converted to LOP and points are charged accordingly.


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                                 General Committees of Adjustment
                                      BNSF Railway Company

January 11, 2022

Jeremy Ferguson
President
SMART-Transportation Division
24950 Country Club Blvd Ste 340
North Olmsted OH 44070-5333

Re:    Strike Authority – BNSF Attendance Guidelines Policy

Brother Ferguson,

The undersigned General Chairpersons herein request your office authorize strike authority for
members under our jurisdiction as a result of BNSF issuing a new Attendance Guidelines Policy
“Hi-Viz”.

All of us have, for multiple years, attempted to negotiate attendance and time off. BNSF has
turned down every offer from SMART-TD to negotiate an agreement outlining our members’
attendance requirements.

The New “Hi-Viz” attendance policy slated to take effect on February 1, 2022, is a unilateral
attempt by BNSF to modify attendance. We believe this to be in direct violation with the Section
6 Notices and current National Negotiations.

This policy, and particularly its formulation at this point in time when active National Negotiations
are taking place is likely in conflict with the RLA and the National Handling process.

Thank you in advance for any assistance/guidance you can provide regarding this issue. Do not
hesitate to contact any of us if you require additional information.

Fraternally,




J. M. LaPresta                                        Scott Swiatek
General Chairperson GO-001                            General Chairperson GO-009




Johnny P. Martinez, Jr.                               Justin Schrock
Acting General Chairperson GO-017                     General Chairperson GO-020




                                                                                            Ex. D
Matthew Burkart                                       Larry Miller
General Chairperson GO-341                            General Chairperson GO-386
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Mr. Jeremy Ferguson
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Kevin Kime                              Roy Davis
General Chairperson GO-393              General Chairperson GO-577




Tony McAdams
General Chairperson GO-JTD
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       1   SECTION 91 — ASSOCIATION OF GENERAL CHAIRPERSONS
      2    SEC. 91. The Chairpersons of the General Committees in each district,
      3    as hereinafter set forth, shall form an Association of General Chairper-
      4    sons, each to function independently of the other, for the purpose of
      5    formulating concerted movements relating to wages, rules, and work-
      6    ing conditions of transportation service employees in their district.

      7        ʈʈ District No. 1 shall include all rail lines in the United States.

      8        ʈʈ District No. 3 shall include all bus lines in the United States.

      9      All General Chairpersons on properties where the combined
     10    membership represented by SMART Transportation Division is one
      11   hundred (100) or more, shall be members of the Association of General
                                ARTICLEPage
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      Chairpersons in their respective districts as outlined above. Where            12
      the combined membership represented by SMART Transportation                    13
      Division on a property is less than one hundred (100) the General              14
      Chairpersons on that property shall elect one of their group to be a           15
      member of the Association in their respective districts. Members of            16
      the Association of General Chairpersons shall attend all meetings of           17
      their Association and represent their committees with pay and proper           18
      expenses to be paid from the General Fund of the International.                19
        The President Transportation Division shall convene the General              20
      Chairpersons during the year 1969 for the purpose of organizing the            21
      Association in each district. Each district shall elect, by secret ballot, a   22
      Chairperson, a Vice Chairperson, and a Secretary to serve as officer of        23
      their Association.                                                             24
        Following the reorganization of General Committees in 1971, and              25
      quadrennially thereafter, the President Transportation Division shall          26
      convene the Association of General Chairpersons for the purpose of             27
      reorganizing and electing officers.                                            28
        Each Association shall adopt bylaws for its special government               29
      consistent with the provisions of this Constitution.                           30
        The Association will be convened by the President Transportation             31
      Division whenever necessary and will be convened by them when a                32
      majority of the General Chairpersons within a district of the Associ-          33
      ation request a special meeting, provided the requests are uniform in          34
      object and purpose and the meeting is limited to subjects over which           35
      the Association has jurisdiction.                                              36
        In any general or concerted wage-rules movement, members in an               37
      Association cannot withdraw support of a movement which has been               38
      approved by a two-thirds (⅔) vote of the members of an Association,            39
      unless sanction thereto is given by a majority vote of eligible members        40
      of the Association and approved by the President Transportation                41
      Division. In the event any transportation company refuses to be repre-         42
      sented by the conference committee representing the companies in a             43
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     44    general or concerted movement, the President Transportation Division
     45    may exclude the General Committee on such company from participa-
     46    tion in the movement.
     47       A strike may be authorized by the President Transportation Divi-
     48    sion, with approval of the General President, in support of a general
     49    or concerted wage-rules movement, provided such action under this
     50    Section is approved by a two-thirds (⅔) vote of the members in any
     51    Association. Such vote may be taken as the President Transportation
     52    Division may direct by mail, wire, or while in session.
     53       In any general or concerted wage-rules movement the President
     54    Transportation Division shall appoint a negotiating committee
     55    representative of each of the former organizations and crafts repre-
     56    sented by them, which are involved in the movement. The negotiating
     57    committee shall assist in the prosecution of the wage-rules movement
     58    as directed by the President Transportation Division.
     59       When in the judgment of the President Transportation Division
     60    and the negotiating committee a final offer of settlement has been
     61    received, the offer with the committee’s recommendation shall be
     62    submitted by referendum to the Membership of the crafts involved in
     63    the movement for their acceptance or rejection. Following receipt of
     64    the offer of settlement, each General Chairperson shall have fifteen (15)
     65    days to submit questions pertaining to the offer. The negotiating com-
     66    mittee will, consolidate the submitted questions into a single, uniform
     67    list. When the answers to these questions are determined by the nego-
     68    tiating committee and the carriers’ representatives, the agreed-upon
     69    questions and answers will be distributed to the General Chairpersons
     70    and made a part of the offer of settlement.
     71       A majority of the members voting of each of the crafts to be covered
     72    or affected by the terms of the proposed agreement shall be required
     73    to ratify the offer of settlement.
     74       The terms of the settlement shall be submitted, by the President
     75    Transportation Division, to each Local involved in the movement, in
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       sufficient quantity to permit circulation to the membership, and/or the   76
       terms may be mailed to each member in a special edition of the SMART      77
       Transportation Division News. Recommendations of the President            78
       Transportation Division and/or Negotiating Committee may be included      79
       along with a digest or summary of the provisions of the settlement.       80
          The Board of Directors shall establish and publish procedures          81
       for the conduct of referendum elections which shall thereafter be         82
       contained as an appendix to this Section; guaranteeing each affected      83
       member the right-to-vote on wages, rules and working conditions.          84
          Voting and tabulation of the results must be completed within          85
       twenty-one (21) days from the date the proposal is dispatched or          86
       presented by the President Transportation Division. The final result      87
       and tabulation of voting shall be furnished to each Local involved        88
       in the movement and shall be printed in the SMART Transportation          89
       Division News.                                                            90


                                   APPENDIX:                                     91

       Agreements shall be sent via first-class mail in an envelope marked       92
       “Important – Agreement and Ballot Enclosed”. The ballot will be a         93
       self-addressed, postage paid postcard that will contain space for the     94
       member to print name, Local number and railroad employer, or a            95
       telephone electronic voting system supervised by the American Arbi-       96
       tration Association or similar neutral organization.                      97


                           SECTION 92 — STRIKES                                  1

       When a strike has been inaugurated by SMART Transportation                2
       Division, the President Transportation Division, shall be the recog-      3
       nized leader and shall have authority, in conjunction with the General    4
       President, to appropriate from the Strike Fund such money for legal       5
       assistance and incidental expenses as may be required for a successful    6
       prosecution of the strike.                                                7
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                                                                            January 12, 2022

SENT VIA EMAIL ONLY
All BNSF General Chairpersons
SMART Transportation Division

              RE: Request for strike authority, BNSF attendance policy

Dear Sirs and Brothers:

       This is in reference to the enclosed letter dated January 11, 2022, regarding the
above-referenced subject, jointly signed by SMART-TD General Chairpersons whose
Committees have jurisdiction over the BNSF railroad. This will also serve to acknowledge
and address the emailed and telephoned complaints received in this office, submitted by
several SMART-TD members and officers who will be impacted by BNSF’s unilateral
decision to impose a new attendance policy for its employees, effective February 1, 2022.

        Be advised this office completely understands and shares the disappointment,
frustration and anger that many of you are expressing in the wake of BNSF’s actions.
More specifically, the draconian availability standards that BNSF intends to impose on
our members will not only circumvent our efforts to mutually agree on such a policy; it will
also infringe on provisions of agreements that are currently in effect on the property. Put
simply, BNSF’s decision to disregard our good-faith bargaining only serves to further
decay our members’ quality of life, which is simply unacceptable.

       In view of the above, all BNSF General Chairpersons are hereby authorized to
conduct a polling of the members of your respective Committees, posing the question of
whether or not this office should proceed with the necessary steps to order a strike on the
affected properties. In doing so, please note that SMART Constitution Article 21B, Section
85, states in pertinent part:

       … such strike action under this Section must be authorized by a two-thirds
       (2/3) vote of the members of the General Committee. Such vote may be
       taken by wire, mail, or personal contact with written confirmation as the
       General Chairperson may direct.

        It is also vitally important to note that the approval of this proposition by a General
Committee, as outlined above, does not constitute imminent authority to engage in any
strike action, as additional steps must be taken under the governing provisions of the
SMART Constitution, and must be handled in accordance with the Railway Labor Act, as
amended. With this in mind, upon the completion of such polling, please apprise this office
of the results and await further instruction.

       With best wishes, I remain


                                                                                  Ex. F
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                                                                          January 22, 2022

SENT VIA EMAIL ONLY
All BNSF General Chairpersons
SMART Transportation Division

              RE: January 11 letter requesting strike authority over BNSF Hi-Viz policy

Dear Sirs and Brothers:

       My office is in receipt of confirmation from your respective committees’ recent strike
polls concerning the BNSF HI-VIZ policy. All have been received with a “YES” vote.

       As you are aware, the Carrier’s policy is not slated to be implemented until
February 1, 2022, and the Union has informed the Carrier that no strike action will be
taken prior to implementation of the policy.

      Please note however that authorization regarding a strike, if any, must await the
outcome of the Carrier’s Motion for a Temporary Restraining Order filed January 18, 2022.
Currently the matter is pending before the U.S. District Court for the Northern District of
Texas and has been set for an in-person hearing on Monday, January 24, 2022. I too have
been summoned to appear before the judge.

       You should be advised that the Union will be obligated to comply with the Court’s
decision. We will be in touch after the Monday hearing.

       To be clear: no strike is authorized at this time.

       With best wishes, I remain

                            Fraternally yours,




                            Jeremy R. Ferguson
                            President – Transportation Division

cc:    All Rail Vice Presidents – SMART Transportation Division
       Certain (BNSF) State Legislative Directors
       J.L. Gibson Jr., Chief of Staff – Transportation Division
       M.E. Dolin, Director of Administration – Transportation Division
       J.J. Brandow, Executive Assistant to the President – Transportation Division
       R.E. Leichliter, Administrative Assistant to the President – Transportation Division



                                                                                    Ex. G
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                      Fraternally yours,




                           Jeremy R. Ferguson
                           President – Transportation Division

cc:   All Rail Vice Presidents – SMART Transportation Division
      J.L. Gibson Jr., Chief of Staff – Transportation Division
      M.E. Dolin, Director of Administration – Transportation Division
      J.J. Brandow, Executive Assistant to the President – Transportation Division
      R.E. Leichliter, Administrative Assistant to the President – Transportation Division
